                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION



 JOHNNY M. HUNT,

                        Plaintiff,                       Case No. 3:23-cv-00243
        v.

 SOUTHERN BAPTIST CONVENTION;                            Judge Campbell
 GUIDEPOST SOLUTIONS LLC; and                            Magistrate Judge Frensley
 EXECUTIVE COMMITTEE OF THE
 SOUTHERN BAPTIST CONVENTION                             JURY DEMAND


                        Defendants.


      NON-PARTY JANE DOE’S MOTION TO PROCEED PSEUDONYMOUSLY
             AND TO REDACT REFERENCES TO HER NAME AND
              IDENTIFYING INFORMATION IN PUBLIC FILINGS

       Jane Doe, referred to in other filings in this case as the “survivor” or “alleged survivor of

sexual assault” respectfully requests that this Court allow her to proceed as required in this case

under a pseudonym due to the highly sensitive and private nature of the facts regarding her that

are involved in this case and her role as a non-party unwillingly drawn into this case. This

designation seeks to protect Jane Doe from annoyance, embarrassment, oppression, and undue

burden and expense, and more specifically, to safeguard Ms. Doe’s privacy, her physical and

emotional well-being, and her and her spouse’s employment prospects and relationships, without

prejudicing the existing parties in this case. Prior to this filing, the parties have already de-

identified Ms. Doe and her spouse from public filings and placed certain discovery items that

contain identifying information about Ms. Doe under this case’s protective order (current version

is the Second Amended Agreed Protective Order, ECF Doc. No. 153), pursuant to the Court’s

Order (ECF. Doc. No. 76).


                                                 1
Case 3:23-cv-00243          Document 168       Filed 04/09/24       Page 1 of 4 PageID #: 2185
       In support of this motion, Jane Doe relies on the following:

       1.      Notice of Subpoena and Subpoena to Testify at a Deposition in a Civil Action

       (“Subpoena”), Notice of Deposition dated January 17, 2024 (“First Notice”), and Notice

       of Deposition dated April 2, 2024 (“Second Notice”), served on Jane Doe (attached as

       Exhibits 1, 2, and 5 respectively to the Declaration of Melissa J. Hogan);

       2.      Declaration of Melissa J. Hogan and the exhibits thereto; and

       3.      A memorandum of law filed contemporaneously with this Motion.

       Pursuant to Local Rule 37.01(a), counsel for Jane Doe has conferred with counsel for each

of the Defendants and counsel for the Plaintiff about this motion. Defendants have communicated

that they do not oppose Jane Doe’s position in this motion.

Dated: April 9, 2024

                                             Respectfully submitted,


                                             s/ Melissa J. Hogan

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                                                2
Case 3:23-cv-00243        Document 168        Filed 04/09/24       Page 2 of 4 PageID #: 2186
                              CERTIFICATE OF SERVICE

       The undersigned certifies that on April 9, 2024, I electronically filed a true and correct
copy of the foregoing with the Clerk of Court for the U.S. District Court Middle District of
Tennessee through the Court’s Electronic Case Filing System, which will automatically serve all
counsel of record listed below:

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                                               3
Case 3:23-cv-00243       Document 168        Filed 04/09/24      Page 3 of 4 PageID #: 2187
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                                          4
Case 3:23-cv-00243        Document 168   Filed 04/09/24     Page 4 of 4 PageID #: 2188
